Case 2:11-cr-20551-RHC-MKM ECF No. 632, PageID.2118 Filed 01/31/14 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                              CRIM NO.11 CR-20551-52

JOSH BARNES,

                Defendant.
__________________________________/

                   ORDER ALLOWING WITHDRAWAL OF COUNSEL

      The Court has been notified that due to health reasons, counsel is physically unable

to continue representation of Defendant Josh Barnes. Upon consideration of the request,

the court has determined that there is sufficient reason for Mr. Bunting to be allowed to

withdraw as counsel. Therefore,

      IT IS ORDERED that the Federal Defender’s Office appoint a member of the CJA

panel to represent defendant for the remainder of these proceedings.

      IT IS FURTHER ORDERED that substitute counsel file an appearance and meet

with Defendant as soon as practicable.

                                           s/ Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE


Dated: January 31, 2014


I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, January 31, 2014, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
